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WESTERN DISTRICT OF TENNESSEE 05 JUH -8 AHH: 57

 

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MARK ZANOTTI J'UDGMENT IN A CIVIL CASE
V.
FRITO-LAY CASE NO: 05-2147-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED.AND ADJUDGED ‘that in accordance with the Order 0f
Dismissal With Prejudice entered on June 7, 2005, this cause is
hereby dismissed with prejudice.

APPROVED:

 

ROBERT R. D| TROLIO
UN D sTA'rEs DIST}ICT coURT

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Honorable Bernice Donald
US DISTRICT COURT

